        Case 1:20-cv-08421-AJN-RWL Document 9 Filed 10/16/20 Page 1 of 5




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                     10/16/2020
---------------------------------------------------------------X
ELVIS JIMENEZ,                                                 :   20-CV-8421 (AJN) (RWL)
                                   Plaintiff,                 :
                                                              :
                 - against -                                   :   ORDER SUPPLEMENTING
                                                               :   STANDING ORDER IN
ANDREW SAUL, Commissioner of Social                            :   SOCIAL SECURITY CASE
Security Administration,                                       :   (Represented Parties)
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        The above-referenced social security action has been referred to the undersigned

for Report and Recommendation. All motions and applications, including those related

to scheduling and all motions to dismiss or for judgment on the pleadings, must be made

to Judge Lehrburger and in compliance with this Court’s Individual Practices in Civil

Cases, available on the Court’s website at https://nysd.uscourts.gov/hon-robert-w-

lehrburger.

        1.       Filing the Record: Pursuant to Standing Order No. 16-MC-00171, dated

April 20, 2016, Defendant shall file the electronic certified transcript of the administrative

record (“Record”), which shall constitute the Defendant’s answer, or move against the

complaint, no later than 90 days after Defendant is served with process or otherwise

directed by the Court to answer in this action. Thereafter, in order to promote the

efficient adjudication of this matter, the parties shall adhere to the following schedule and

procedures.




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       Case 1:20-cv-08421-AJN-RWL Document 9 Filed 10/16/20 Page 2 of 5




       2.     Mandatory Settlement Proposal and Discussion:

              a.     No later than 30 days after the Record is filed, counsel for Plaintiff

must serve a written proposal for settlement on counsel for the Commissioner,

summarizing Plaintiff’s strongest arguments, with specific references to the portions of

the record supporting those arguments, to determine if the case can be resolved.

              b.     Promptly upon receipt of Plaintiff’s settlement proposal, counsel

for the Commissioner must consult with the agency, evaluate the merits of the proposal,

and meet and confer with Plaintiff’s counsel in good faith, in person or by telephone, to

determine whether the case can be resolved without further expenditure of attorney time

and judicial resources. An exchange of emails is not sufficient.

              c.     No later than 30 days after Plaintiff’s settlement proposal is

served, the parties shall either: (a) electronically file a stipulation dismissing, remanding,

or otherwise resolving the case; or (b) electronically file a joint letter advising the Court

that the parties have complied with the requirements of paragraphs a and b above but

were unable to resolve the case and are proceeding to brief their respective positions in

accordance with the paragraphs below. Any stipulation entered between the parties

including, but not limited to, a remand to the Social Security Administration

(“Administration”) for further proceedings must be approved by the assigned District

Judge, unless the parties consent to the undersigned’s jurisdiction over the case for all

purposes.    The parties are advised that a remand for further proceedings is not

necessarily a final disposition of the case, and Plaintiff may be entitled to seek further

review of any additional proceedings before the Administration.




                                              2
       Case 1:20-cv-08421-AJN-RWL Document 9 Filed 10/16/20 Page 3 of 5




       3.        Plaintiff’s Motion: Absent settlement of the case, Plaintiff shall file and

serve their motion for judgment on the pleadings no later than 60 days after the Record

is filed.

       4.        Defendant’s Response: The Commissioner shall file and serve any

response (and cross-motion, if any) to the motion for judgment on the pleadings no later

than 60 days after Plaintiff’s motion is filed. Within 7 days after the Commissioner

files its response, the Commissioner shall deliver to chambers by mail, overnight

courier, or hand delivery a courtesy copy (marked as such) of the Record.

       5.        Plaintiff’s Reply: Plaintiff shall file and serve any reply no later than 21

days after the Commissioner’s response is filed.

       6.        Briefing Requirements: The parties’ briefs should comply with the

following requirements:

                 a.    The brief of each side shall contain a summary of those parts of the

record that each side contends should be considered for purposes of review of the

agency’s decision. Each statement in a party’s summary of the record shall be followed

by a citation to the appropriate pages of the record (i.e., “R. at__”).

                 b.    If Defendant believes that any of the statements in Plaintiff’s

summary of the record is inaccurate in any respect, then Defendant’s brief shall include

a footnote or section that lists each such statement, explains why each such statement is

inaccurate, and includes supporting cites to the record. If Plaintiff believes that any of the

statements in Defendant’s summary of the record is inaccurate in any respect, then

Plaintiff’s responsive brief shall include a footnote or section that lists each such

statement, explains why each such statement is inaccurate, and includes supporting cites

to the record.
                                               3
       Case 1:20-cv-08421-AJN-RWL Document 9 Filed 10/16/20 Page 4 of 5




              c.     The Court is familiar with the standard of review and the sequential

evaluation process, so the parties may forego boilerplate discussions of the governing

legal standards unless there has been a recent change in the law. The parties should

focus on applying relevant and controlling legal authority to the facts germane to each

disputed issue.

              d.     When citing relevant cases, statutes, regulations, Social Security

Rulings, medical and vocational reference sources, or other legal authority to support

their legal arguments, the parties shall provide complete and accurate citations to the

portions of those authorities relied upon. In addition, all medical terminology (including

medical conditions, diagnoses, procedures, tests, anatomical references, and

pharmaceuticals) shall be defined in terms understandable to a layperson, preferably by

citation to a medical dictionary or other standard reference work. The parties may not

supplement the record beyond the definition of technical terms.

       7.     Memoranda in support of or in opposition to any dispositive motion shall not

exceed 25 pages in length, and reply memoranda shall not exceed 10 pages in length. A

party seeking to exceed these page limitations must apply to the Court for leave to do so

in conformity with the undersigned’s Individual Practices in Civil Cases, with copies to all

counsel, no fewer than 7 days before the date upon which the memorandum must

be filed.

       8.     Counsel for the Plaintiff must serve this Order on the Defendant and must

file proof of such service with the Court.




                                             4
      Case 1:20-cv-08421-AJN-RWL Document 9 Filed 10/16/20 Page 5 of 5




                                         SO ORDERED.



                                         _________________________________
                                         ROBERT W. LEHRBURGER
                                         UNITED STATES MAGISTRATE JUDGE
Dated: October 16, 2020
       New York, New York

Copies transmitted this date to all counsel of record




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